Case 3:21-cv-06002-JD Document 1-7 Filed 08/03/21 Page 1 of 15




        EXHIBIT 6
       Case 3:21-cv-06002-JD Document 1-7 Filed 08/03/21 Page 2 of 15




              Superior Court of California, County of Alameda



                                              -'FOR




              Notice of Assignment of Judge for All Purposes

Case Number: RG21101115
Case Title:     Cleveland VS Campbell Soup Company
Date of Filing: 05/26/2021


TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

Pursuant to Rule 3.734 of the California Rules of Court and Title 3 Chapter 2 of the
Local Rules of the Superior Court of California, County of Alameda, this action is
hereby assigned by the Presiding Judge for all purposes to:

        Judge:                 Julia Spain
        Department:            520
        Address:               Hayward Hall of Justice
                               24405 Amador Street
                               Hayward CA 94544
       Phone Number:           (510) 690-2729
       Fax Number:             (510) 267-1531
       Email Address:          Dept520@alameda.courts.ca.gov

Under direct calendaring, this case is assigned to a single judge for all purposes including
trial.

Please note: In this case, any challenge pursuant to Code of Civil Procedure section
170.6 must be exercised within the time period provided by law. (See Code Civ. Proc.
§§ 170.6, subd. (a)(2) and 1013.)

NOTICE OF NONAVAILABILITY OF COURT REPORTERS: Effective June 4, 2012, the
court will not provide a court reporter for civil law and motion hearings, any other hearing or
trial in civil departments, or any afternoon hearing in Department 201 (probate). Parties may
arrange and pay for the attendance of a certified shorthand reporter. In limited jurisdiction
cases, parties may request electronic recording.

Amended Local Rule 3.95 states: "Except as otherwise required by law, in general civil case
and probate departments, the services of an official court reporter are not normally
available. For civil trials, each party must serve and file a statement before the trial date
indicating whether the party requests the presence of an official court reporter."

Counsel(s) are expected to be familiar with the Statement of Professionalism and Civility,
Alameda County Bar Association (www.acbanet.org).

IT IS THE DUTY OF EACH PLAINTIFF AND CROSS COMPLAINANT TO SERVE A COPY

                                          Page 1 of 4
       Case 3:21-cv-06002-JD Document 1-7 Filed 08/03/21 Page 3 of 15



OF THIS NOTICE IN ACCORDANCE WITH LOCAL RULES.

General Procedures

Following assignment of a civil case to a specific department, all pleadings, papers, forms,
documents and writings can be submitted for filing at either Civil Clerk's Office, located at
the Rene C. Davidson Courthouse, Room 109, 1225 Fallon Street, Oakland, California,
94612, and the Hayward Hall of Justice, 24405 Amador Street, Hayward, California, 94544.
All documents, with the exception of the original summons and the original civil complaint,
shall have clearly typed on the face page of each document, under the case number, the
following:
                           ASSIGNED FOR ALL PURPOSES TO
                                     JUDGE Julia Spain
                                     DEPARTMENT 520

All parties are expected to know and comply with the Local Rules of this Court, which are
available on the court's website at: http://www.alameda.courts.ca.gov/Pages.aspx/Local-
Rules(1) and with the California Rules of Court, which are available at
www.courtinfo.ca.gov.

Parties must meet and confer to discuss the effective use of mediation or other alternative
dispute processes (ADR) prior to the Initial Case Management Conference. The court
encourages parties to file a "Stipulation to Attend ADR and Delay Initial Case Management
Conference for 90 Days". Plaintiff received that form in the ADR information package at the
time the complaint was filed. The court's website also contains this form and other ADR
information. If the parties do not stipulate to attend ADR, the parties must be prepared to
discuss referral to ADR at the Initial Case Management Conference.
Appearances by attorneys not counsel of record are not permitted except for good cause
shown. (Non-emergency scheduling conflicts are not good cause). Any appearing counsel
must have full authority to make decisions on a case.

All references to counsel apply equally to self-represented parties and all must comply with
all the rules cited in this Notice. Parties are reminded that the dept. clerk is prohibited from
giving legal advice. Self-represented parties are encouraged to use the Self-Help Center at
the Hayward Hall of Justice, 24405 Amador St., Dept. 501, Hayward.

Email is the best method of communicating with court staff. Email address for counsel or
self-represented litigants must be listed in the caption of all filed papers, as required by CRC
2.111(1). All email communications must be copied to all parties for whom an email address
is available. Pleadings/documents shall not be transmitted via email.
Schedule for Department 520
    The following scheduling information is subject to change at any time, without notice.
    Please contact the department at the phone number or email address noted above if
    you have questions.
   •    Trials generally are held: Mondays, Tuesdays, Thursdays and Fridays, beginning at
        9:30 a.m.

   •    Trial Readiness Conferences are held 2 weeks prior to trial date. Compliance with
        Local Rule 3.35 and personal appearance of trial counsel is required.

   •    Case Management Conferences are held: Wednesdays at 9:30 a.m. Timely filed
        and complete CMC Statements with courtesy copy to Dept. 520 are required. The

                                           Page 2 of 4
        Case 3:21-cv-06002-JD Document 1-7 Filed 08/03/21 Page 4 of 15



         court will usually publish a Tentative Case Management Order. Check DOMAIN to
         see if Order waives CMC appearance.
    •    Law and Motion matters are heard: Wednesdays and Thursdays at 2:00 p.m.;
         Litigants must contact the dept. clerk to reserve a date before filing any law and
         motion matter. See further procedures below.
    •    Settlement Conferences are heard: Court resources are limited. Counsel are
         encouraged to consider alternative dispute resolution. Conferences will be specially
         set as appropriate.
    •   Ex Parte matters are heard: On written applications only on Mondays - Thursdays.
        Email Dept. 520 to request date. Moving party must give 48 hours prior notice to
        opponent advising written opposition must be filed and courtesy copy delivered to
        Dept. 520 within 24 hours.
    •   Check Domain, Dept. 520 webpage, click on "List of Documents" for other useful
        materials.
    •   DISCOVERY DISPUTES: Parties must exhaust Meet and Confer requirements
        before contacting the court for a hearing date. No Motion to Compel Discovery will
        be scheduled until after the parties complete an informal discovery resolution
        process thru the court. Email the dept. for a date and further details before
        preparing any Motion to Compel.

Law and Motion Procedures
To obtain a hearing date for a Law and Motion or ex parte matter, parties must contact the
department as follows:
•   Motion Reservations
       Email:        dept520@alameda.courts.ca.gov

        Please provide: 1) Name of case; 2) Case number; 3) Title of motion; 4) Moving
        party; 5) Name of Responding Party's Counsel and email address.

•   Ex Parte Matters
       Email:        dept520@alameda.courts.ca.gov


Tentative Rulings

The court may issue tentative rulings in accordance with the Local Rules. Tentative rulings
will become the Court's order unless contested in accordance with the Local Rules.
Tentative rulings will be available at:

•   Website: www.alameda.courts.ca.govidomainweb, Calendar Information for Dept. 520
•   Phone: 1-866-223-2244




                                          Page 3 of 4
     Case 3:21-cv-06002-JD Document 1-7 Filed 08/03/21 Page 5 of 15




      Dated: 06/09/2021
                                                   Facsimile

                                                  Presiding Judge,
                                   Superior Court of California, County of Alameda




                                  CLERK'S CERTIFICATE OF MAILING
I certify that the following is true and correct: I am the clerk of the above-named court and
not a party to this cause. I served this Notice by placing copies in envelopes addressed as
shown on the attached Notice of Initial Case Management Conference and then by sealing
and placing them for collection, stamping or metering with prepaid postage, and mailing on
the date stated below, in the United States mail at Alameda County, California, following
standard court practices.

              Executed on 06/10/2021
                                                       eL)butp..L. A   .4.      Digital


                                            By
                                                                             Deputy Clerk




                                         Page 4 of 4
                 Case 3:21-cv-06002-JD Document 1-7 Filed 08/03/21 Page 6 of 15

  r    Feinstein Doyle Payne & Kravec, LLC                1              r                                                  1
       Attn: Lison, Wyatt A.
       429 Fourth Avenue
       Suite 1300
  L    Pittsburgh, PA 15219

                           Superior Court of California, County of Alameda
      Cleveland                                                                      No. RG21101115
                                           Plaintiff/Petitioner(s)
                                 VS.                                      NOTICE OF CASE MANAGEMENT
                                                                            CONFERENCE AND ORDER
      Campbell Soup Company                                                    Unlimited Jurisdiction
                                        Defendant/Respondent(s)
                          (Abbreviated Title)

  TO ALL PARTIES AND TO THEIR ATTORNEYS OF RECORD:
  Notice is given that a Case Management Conference has been scheduled as follows:

Date: 10/13/2021          Department: 520                                                  Judge: Julia Spain
Time: 09:30 AM              Location: Hayward Hall of Justice                              Clerk: Danielle Labrecque
                                      3rd Floor                                            Clerk telephone: (510) 690-2729
                                      24405 Amador Street, Hayward CA 94544                E-mail:
                                                                                           Dept520@alameda.courts.ca.gov
                              Internet: www.alameda.courts.ca.gov                          Fax: (510) 267-1531

                                                              ORDERS
 1.     Plaintiff must:

            a.    Serve all named defendants and file proofs of service on those defendants with the court within     days
                  of the filing of the complaint (Cal. Rules of Court, 3.110(b)); and

            b.    Give notice of this conference to all other parties and file proof of service.

 2.     Defendant must respond as stated on the summons.

 3.     All parties who have appeared before the date of the conference must:

            a.    Meet and confer, in person or by telephone as required by Cal. Rules of Court, rule 3.724;

            b.    File and serve a completed Case Management Statement on Form CM-110 at least 15 days before the
                  Case Management Conference (Cal. Rules of Court, rule 3.725); and

            c.    Post jury fees as required by Code of Civil Procedure section 631.

 4.    If you do not follow the orders above, the court may issue an order to show cause why you should not be
       sanctioned under Cal. Rules of Court, rule 2.30. Sanctions may include monetary sanctions, striking pleadings
       or dismissal of the action.

 5.    You are further ordered to appear in person or through your attorney of record at the Case Management
       Conference noticed above. You must be thoroughly familiar with the case and fully authorized to proceed. You
       may be able to appear at Case Management Conferences by telephone. Contact CourtCall, an independent
       vendor, at least three business days before the scheduled conference. Call 1-888-882-6878, or fax a service
       request to (888) 882-2946. The vendor charges for this service.

 6.    You may file Case Management Conference Statements by E-Delivery. Submit them directly to the E-Delivery
       Fax Number (510) 267-5732. No fee is charged for this service. For further information, go to
       www.alameda.courts.ca.gov/fl

 7.    The judge may place a Tentative Case Management Order in your case's on-line register of actions before the
       conference. This order may establish a discovery schedule, set a trial date or refer the case to Alternate Dispute
       Resolution, such as mediation or arbitration. Check the website of each assigned department for procedures
       regarding tentative case management orders at www.alameda.courts.ca.gov/dc.


 Form Approved for Mandatory Use                NOTICE OF CASE MANAGEMENT CONFERENCE AND ORDER               Page 1 of 2
 Superior Court of California, County
 of Alameda
 ALA CIV-100 [Rev. 07-01-2015]
             Case 3:21-cv-06002-JD Document 1-7 Filed 08/03/21 Page 7 of 15



                                                    CLERK'S CERTIFICATE OF MAILING
I certify that the following is true and correct: I am the clerk of the above-named court and not a party to this cause. I served this Notice of
Hearing by placing copies in envelopes addressed as shown hereon and then by sealing and placing them for collection, stamping or metering
with prepaid postage, and mailing on the date stated below, in the United States mail at Alameda County, California, following standard court
practices.
                      Executed on 06/10/2021.
                                                                                 40.4       ,..        Dotal

                                                                  By
                                                                                                      Deputy Clerk




Form Approved for Mandatory Use                   NOTICE OF CASE MANAGEMENT CONFERENCE AND ORDER                                  Page 2 of 2
Superior Court of California, County
of Alameda
ALA CIV-100 [Rev. 07-01-2015]
            A
                  Case 3:21-cv-06002-JD Document 1-7 Filed 08/03/21 Page 8 of 15
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                                                                                                                      _ 23514250

                          RELEASE OF FUNDS

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                                                                             - ED
                                                                        ALAMEDA UNTY

  Plaintiff       Cleveland                                                  JUN 2 9 2021 Case #:           RG21101115
                                                      vs                                    COU
                                                                                    SUPERin COURT
                                                                    C'ERK • T
  Defendant       Campbell Soup Company                                                            Deputy ,
 Original Amount: $            1,025.00                    Receipt #:   981 542                    Date:    06/10/21
Mode of Payment:                Check


Reason for Release of Funds:                                                                  Amount to be Released/Refunded:
D Release of Deposit for Stay of Execution'
      Overpayment of $10.01 or more'                                                                       $ 25.00
111
❑ Exoneration of Bail'

❑ Small Claims Judgment Paid to Court'

E Filing Fee (Fee Type)5:
❑ Release of Clerk's/Reporter's Transcript Deposits

❑ Court Order/Other (explain)5:



Payee:          Feinstein Doyle Payne & Kravec LLC

Address:        Law and Finance Building, Suite 1300
                429 Fourth Avenue
                Pittsburgh, PA 15219


         I verify that to the best of my knowledge this release offunds complies with the appropriate statutes referenced above.



Completed by:         Andre) Gospel                           on   06/10/21        Signature:


Approved by:                                                  on                   Signature;

                                    Submit Release of Funds forms to FBRDRalameda.courts.ca.gov.


  CCP 1176
'GC 29375.1
3 PC 1463.006
° CCP 116.860
s At the discretion of the authorized approver
cii/Court/Finance & Facilities/Forms/Refunds
                                                                                                                   Revised 07/10/2020
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                                   Superior Court of California
                                              Couyty of A bwedg.



                   ** COPY ** COPY A * COPY   COPY ”   COPY "   COPY ** COPY *
Superior Court of California, County of Alameda                  Receipt Nbr: 981752
Rene C. Davidson Alameda County Courthouse                       Clerk: agospel
1225 Fallon Street                                               Date: 06/10/2021
Oakland, CA 94612


Type           Case Number      Description                                        Amount


Service        RG21101115       1 Complex Fee - Plaintiff Party(s)               $1000.00



          Total Amount Due:      $1,000.00
          Prior Payment:
          Current Payment:       $1,025.00
          Balance Due:                $.00
          Overage:
          Excess Fee:               $25.00
          Change:

Payment Method:
        Cash:
        Check:                   $1,025.00
           Case 3:21-cv-06002-JD Document 1-7 Filed 08/03/21 Page 10 of 15
 •
                                                  •
 ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, Slate Bar number, andaddle*
— Wyatt A. Lison (SBN #316775)
                                                                                                                                  24060078
                                                                                                                        FOR COURT USE ONLY

  FEINSTEIN DOYLE PAYNE & KRAVEC, LLC
  429 Fourth Avenue, Law & Finance Building, Suite 1300
  Pittsburgh, PA 15219                                                                                                               E
          TELEPHONE NO..
 ATTORNEY FOR (Name)
                           (412) 281-8400
                           rlaintiffs
                                                              FAX NO.:   (412) 281-1007                     ALAMEDA COUNTY
SUPERIOR COURT OF CALIFORNIA, COUNTY CF
       STREET ADDRESS. 2233
                                             Alameda
                                Shoreline Drive/George E. McDonald Hall of Justice                                     MAY 2 6 2021
       MAILING ADDRESS:    2233 Shoreline Drive/George E. McDonald Hall of Justice                                                SUP RI             OURT
                                                                                                           CLE         FT
      CITY AND ZIP CODE:   Alameda 94501
           BRANCH NAME:    Alameda                                                                         By
  CASE NAME:



M
    CIVIL CASE COVER SHEET
     Unlimited                El
                           Limited
                                                     Complex Case Designation
                                                       CounterE       0      Joinder
                                                                                                          cAsnR21101115
     (Amount              (Amount
                                                                                             JUDGE.
     demanded              demanded is          Filed with first appearance by defendant
     exceeds $25,000)      $25,000 or less)         (Cal. Rules of Court, rule 3.402)          DEPT:

                              Items 1-6 below must be completed (see instructions on page 2).
1. Check one box below for the case type that best describes this case:
   Auto Tort                                   Contract                               Provisionally Complex Civil Litigation
   0    Auto (22)                                         Cl
                                                     Breach of contract/warranty (06) (Cal. Rules of Court, rules 3.400-3.403)
     El      Uninsured motorist (46)                      El Rule 3.740 collections (09)                 Antitrust/Trade regulation (03)
     Other PI/PDAND (Personal Injury/Property             0       Other collections (09)                 Construction defect (10)
     Damage/Wrongful Death) Tort                          0 Insurance coverage (18)                      Mass tort (40)
     CI    Asbestos (04)                                  El Other contract (37)                  El Securities litigation (28)
     El    Product liability (24)                         Real Property                           El Environmental/Toxic tort (30)
     El Medical malpractice (45)                                Eminent domain/Inverse
     E    Other PI/PD/WD (23)                                   condemnation (14)                 El Insurance  coverage daims arising from the
                                                                                                     above listed provisionally complex          case

     Non-P1/PD/WD (Other) Tort                                  Wrongful eviction (33)                   types (41)
     El      Business tort/unfair business practice               Other real property (26)         Enforcement of Judgment
      E      Civil rights (08)                            Unlawful Detainer                       EI Enforcement of judgment (20)
      0      Defamation (13)                              El   Commercial (31)                     Miscellaneous Civil Complaint
     El      Fraud (16)                                   1::=1Residential (32)                    El RICO (27)
     CI Intellectual property (19)                        El Drugs (38)                               El Other complaint (not specified above) (42)
     CI Professional negligence (25)                      Judicial Review                             Miscellaneous Civil Petition
     El Other non-PI/PDAND tort (35)                      I:=1  Asset forfeiture (05)                 El Partnership and corporate governance (21)
      Employment                                          El    P• etition re: arbitration award (11)
                                                                                                           Other petition (not specified above) (43)
      ❑    Wrongful termination (36)                      ED    Writ of mandate (02)
      n    Other employment (15)                          ri O• ther judidal review (39)
2. This case         LJ is LLI    is not complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
   factors requiring exceptional judicial management:
      2E    Large number of separately represented parties      d.               CI
                                                                        Large number of witnesses
   b. El Extensive motion practice raising difficult or novel e.                 CI
                                                                        Coordination with related actions pending in one or more courts
            issues that will be time-consuming to resolve               in other counties, states, or countries, or in a federal court
            Substantial amount of documentary evidence          f. E Substantial postjudgment judicial supervision
3.    Remedies sought (check all that apply). arl monetary b.ri nonmonetary; declaratory or injunctive relief                              c. npunitive
4.    Number of causes of action (specify): 7 - SEE ATTACHED
5.    This case       I:=1 is El   is not a class action suit.
6.    If there are any known related cases, file and serve a notice of related case. (You may use form CM-01
Date: 5/24/2021
Wyatt A. Lison
                                   (TYPE OR PRINT NAME)                                           (SIGNATURE OF AR    OR ATTORNEY FOR PARTY)
                                                                         NOTICE
     • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
       under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
       in sanctions.
     • File this cover sheet in addition to any cover sheet required by local court rule.
     • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
       other parties to the action or proceeding.
     • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                        Paget oft
Fern Adopted for Mandatory Use                                                                                Cal. Rules otha rd
                                                                                                                              n.le.)150),   3.406-3.403, 3T40:
  Judicial Council of California                           CIVIL CASE COVER SHEET                                               45I       dmInIstration. std. 3.10
  Cm.01O [Rev. July 1.20071                                                                                                                movvouttinfoca.gov
07/07/2021         10:39Feinstein Doyle Payne& Kravec                                                     (FAX)412 281 1007                    P.002/006
                  Case 3:21-cv-06002-JD Document 1-7 Filed 08/03/21 Page 11 of 15

                                                                                                                                                POS-010
     ATTORNEY OR PARTY WTHOUT ATTORNEY (Name, Stare Bar number, and addrost):
                                                                                                             FILED BY FAX
    — Wyatt A. Lison (SBN - 316775)                                                                   A LAMEDA                   COUNTY
      Feinstein Doyle Payne & Kravec, LLC
      429 Fourth Avenue, Law & Finance Building, Suite 1300, Pittsburgh, PA 15219                            July 07, 2021
               TELEPHONE NO.. (4    12) 281-8400    FAX NO, (Optional): (412) 281-1007
     E-MAIL ADDRESS (Optional)'   wlison@fdpklaw.com                                                         CLERK OF
                      Plaint) s
        ATTORNEY FOR (Name                                                                            T HE SUPERIOR      COURT
                                                                                                        y Xian-xii Bowie, Deputy
     SUPERIOR COURT OF CALIFORNIA, COUNTY OF
          STREET ADDRESS:         2233 Shoreline Drive/George E, McDonald Hall of Just.-., ASE NUMBER:
         MAILING ADDRESS;         2233 Shoreline Drive/George E. McDonald Hall of Just
        CITY AND ZIP CODS:        Alameda 94501                                             RG21101115
             BRANCH NAME!         Alameda
        PLAINTIFF/PETMONER: Denise Cleveland and Lanna Rainwater                                          CASE NUMBER!

                                                                                                                            RG21101115
    DEFENDANT/RESPONDENT: Campbell Soup Company and Pepperidge Farm, Inc
                                                                                                          Ref. No. or Fee No,:
                                      PROOF OF SERVICE OF SUMMONS

                                         (Separate proof of service is required for each party served.)
    1, At the time of service I was at least 18 years of age and not a party to this action.
    2. I served copies of:
       a. 1= summons
         b. 1=I complaint
       c.    j Alternative Dispute Resolution (ADR) package
       d. I=1 Civil Case Cover Sheet (served In complex cases only) (with Addendum)
       e. I=1 cross-complaint
       f.         other (specify documents); Notice of Case Management Conference and Order/Notiee of Assignment
                                                                                          of Judge for All Purposes
    3. a. Party served (specify name of party as shown on documents served):

                     Campbell Soup Company and Pepperidge Farm, Inc.
         b. I=1 Person (other than the party in Item 3a) served on behalf of an entity or as an authorized agent (and not a person
                under Item 5b on whom substituted service was made) (specify name end relationship to the party named in item 3a);
                     Dale Giali, Esquire - Counsel for Defendants
    4. Address where the party was served:
         350 South Grand Avenue, 2Sth Floor, Los Angeles, CA 90071 / dgiali@mayerbrown,com
    5. I served the party (check proper box)
       a Q        by personal service. I personally delivered the documents listed In item 2 to the party or person authorized to
                  receive service of process for the party (1) on (date);                           (2) at (time):
       b. 0        by substituted service. On (date):                     at (time):            I left the documents listed in item 2 with or
                   in the presence of (name and title or relationship to person Indicated in item 3):

                                       (business) a person at least 18 years of age apparently In charge at the office or usual place of business
                                       of the person to be served. I Informed him or her of the general nature of the papers.
                                       (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual
                                       place of abode of the party. I Informed him or her of the general nature of the papers.
                               (physical address unknown) a person at least 18 years of age apparently In charge at the usual mailing
                               address of the person to be served, other than a United States Postal Service post office box. I Informed
                               him or her of the general nature of the papers.
                               I thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served
                               at the place where the copies were left (Code Civ. Proc„ § 415,20 . I mailed the documents on
                               (date):               from (city):                           or        a declaration of mailing Is attached.
                       (5) I=1 I attach a declaration of diligence stating actions taken first to attempt personal service.
                                                                                                                                                  Pigs I of 2
     Form Adopted for Mandatory Use                                                                                              C0c10 OCHE PM0adoe. 3117.10
       JudIdel Council of Calllomla
                                                          PROOF OF SERVICE OF SUMMONS
     P05410 (Rev. January 1, 20071
07/07/2021           10:40Feinstein Doyle Payne& Kravec                                                       (FAX)412 281 1007           P. 003/006
                     Case 3:21-cv-06002-JD Document 1-7 Filed 08/03/21 Page 12 of 15




   k
         PLAINTIFF/PETITI0NER:         Denise Cleveland and Lanna Rainwater                                   CASE NUMBER:

                                                                                                                             RG21101115
    DEFENDANT/RESPONDENT:              Campbell Soup Company and Pepperidge Farm, Inc

   5. c,               by mall and acknowledgment of receipt of service, I mailed the documents listed in Item 2 to the party, to the
                       address shown In Item 4, by first-class mail, postage prepaid,
                       (1) on (date): 6/16/2021                                     (2) from   (city):   Pittsburgh, PA
                       (3)   QJ     with two copies of the Notice end Acknowledgment of Receipt and a postage-paid return envelope addressed
                                    to me, (Attach completed Notice and Acknowledgement of Receipt) (Code Clv. Proc., § 416,30.)
                       (4)   1=I     to an address outside California with return receipt requested. (Code Clv. Proc., § 415.40.)

              1:3      by other means (specify means of service end authorizing code section):



              I=1 Additional page describing service is attached.
   G. The "Notice to the Person Served" (on the summons) was completed as follows:
       a. El     as an individual defendant.
      b. El      as the person sued under the fictitious name of (specify):
      c.         as occupant.
       d.        On behalf of (specify):
                 under the following Code of Civil Procedure section:
                          =    416.10 (corporation)                       = 415.95 (business organization, form unknown)
                         I= 418,20 (defunct corporation)                   = 416.80 (minor)
                         C 416,30 (joint stock company/association) El 416.70 (ward or conservatee)
                          C 416.40 (association or partnership)            = 418.90 (authorized person)
                          C 418.50 (public entity)                        I= 415.46 (occupant)
                                                                           C other:
   7. Person who served papers
         a. Name: Marcia Z. Carney
         b. Address; 429 Fourth Avenue, Law & Finance Building, Suite 1300, Pittsburgh, PA 15219
         c.   Telephone number: (412) 281-8400
         d.   The fee for service was: $
         e.   I am:
               (1)           not a registered California process server.
               (2)           exempt from registration under Business and Professions Code section 22350(b).
               (3)           a registered California process server:
                             (I)    CI   owner  C       employee El Independent contractor.
                             (II) Registration No.:
                             (iii) County:

    8. =          I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.

                  Or

    9.   C        I am a California sheriff or marshal and I certify that the for         a true and correct

   Date:                                                                                                 '"

    Marcia Z, Carney
              (NAME OF PERSON WHO SERVED PAPERVEHERiFF OR MARSHAL)                                                 SIGNATURE)




    POS-010 (Roy. January 1.70071                                                                                                          Pogo a of
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                   Case 3:21-cv-06002-JD Document 1-7 Filed 08/03/21 Page 13 of 15


                                                                                                                                                 POS-015
     ATTORNEY OR PARTY WITHOUT ATTORNEY:                    STATE MR NO:   sBN - 318775                                 FOR COURT USE ONLY
    NAME: Wyatt A. Llson
    FIRM NAME:Feinstein Doyle Payne & Kravec, LLC
    STREET ADDRESsi 429 Fourth Avenue, Law & Finance Building, Suite 1300
    Gin: Pittsburgh                                  STATE: pfs    ZIP CODE' 15219
    TELEPHONE No.: (412) 281-8400                   matt i (412) 281.1007
    EMAIL AODRESS. WIISOrl@rOPISISW.COM
    ATTORNEY FOR (Num.), Plaintiffs

    SUPERIOR COURT OF CALIFORNIA, COUNTY OF
     STREET ADDREsT 2233 Shoreline Drive/George E. McDonald Hall of Justice
    MAILiNc ADDREssi 2233 Shoreline Drive/George E. McDonald Hail of Justice
    MT? AND ZIP coosAameda 94501
       BRANCH NAME. Alameda

          Plaintiff/Petitioner: Denise Cleveland and Lanna Rainwater
     Defendant/Respondent:Campbell Soup Company and Pepperidge Farm, Inc.
                                                                                                         CASE NUMBER:
                   NOTICE AND ACKNOWLEDGMENT OF RECEIPT—CIVIL                                             RG21101115

    TO (Insert name of party being served): Defendants Campbell Soup Company and Peoperidoe,Farm, Inc.

                                                                     NOTICE
        The summons and other documents identified below are being served pursuant to section 415.30 of the California Code of Civil
        Procedure, Your failure to complete this form and return it within 20 days from the date of mailing shown below may subject you
        (or the party on whose behalf you are being served) to liability for the payment of any expenses incurred in serving a summons
        on you in any other manner permitted by law.
        If you are being served on behalf of a corporation, an unincorporated association (Including a partnership), or other entity, this
        form must be signed by you in the name of such entity or by a person authorized to receive service of process on behalf of such
        entity, In all other cases, this form must be signed by you personally or by a person authorized by you to acknowledge receipt of
        summons. If you return this form to the sender, service of a summons Is deemed complete on the day you sign the
        acknowledgment of receipt below,

    Date of mailing: June 15 2021


                                      Wyatt A, Limn                                   $               e.---
                                     (TYPE OR PRINT NAME)                                 "7 ...(sIGNATURE OF SE        UST NOT BE A PARTY IN THIS CAS



                                                            ACKNOWLEDGMENT OF RECEIPT
    This acknowledges receipt of (to be completed by sender before melting):
    1. ED A copy of the summons and of the complaint.
    2. Qx Other (specify):
          Notice of Case Management Conference and Order
          Notice of Assignment of Judge for All Purposes
          Civil Cover Sheet with Attachment
          Civil Case Cosier Sheet Addendum
    (To be completed by recipient):
    Date this form is signed; July 6.2021

Dale]. 0011 far Defendants Campbell Soup Company and Peoecridee Farm. Inc.
                 (TYRE OR MINT YOUR NAME AND NAME or ENTITY, IF ANY.                         (SIGNATURE OF PERSON ACKNOWLEOGINO RECEIPT, WITH TRLE IF
                           ON WHOSE BEHALF THIS FORM IS SIONM                             ACKNOWLEDGMENT IS MADE ON BEHALF OF ANOTHER PERSON OR ENTITY)




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                Case 3:21-cv-06002-JD Document 1-7 Filed 08/03/21 Page 14 of 15




                1                                           PROOF OF SERVICE

                2             I, Theresa Struwe, declare:

                3             I am employed in Los Angeles County, California. I am over the age of eighteen years
                4     and not a party to the within-entitled action, My business address is Mayer Brown LLP, 350
                5     South Grand Avenue, 25th Floor, Los Angeles, California 90071-1503. On July 6, 2021 served a
                6     copy of the within document(s);

                7     NOTICE AND ACKNOWLEDGMENT OF RECEIPT - CIVIL
                8                    by transmitting electronically in portable document format (PDF) the document(s)
                                     listed above to the e-mail addresses set forth below on this date. The transmission
                9                    of the document was reported as complete and without error.
               10                    by placing the document(s) listed above in a sealed envelope with postage thereon
                                     fully prepaid, in the United States mail at Los Angeles, California addressed as set
               11                    forth below. I am readily familiar with the firm's practice of collection and
                                     processing correspondence for mailing. Under that practice it would be deposited
               12                    with the U.S. Postal Service on that same day with postage thereon fully prepaid in
                                     the ordinary course of business. I am aware that on motion of the party served,
               13                    service is presumed invalid if postal cancellation date or postage meter date is more
                                     than one day after date of deposit for mailing in affidavit.
               14

               15      Wyatt A. Lison                                   Attorneysfor Plaintiffs and the Proposed Class
                       Joseph N. Kravec, Jr.
               16      Feinstein Doyle Payne & Kravec, LLC
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               17      Pittsburgh, PA 15219
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              Case 3:21-cv-06002-JD Document 1-7 Filed 08/03/21 Page 15 of 15




              1

             2            I declare under penalty of perjury under the laws of the State of California that the above

             3    is true and correct. Executed on July 6, 2021 at Los Angeles, California.

             4                                                    J       iiitieQ.A.e   4. )46444,..4-1
                                                                                        Theresa Struwe
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